Case 4:17-cV-03877 Document 31 Filed in TXSD on 05/11/18 Page 1 of 1

 

 

UNITED STATES BANKRUPTCY COURT SOUTHERN DISTRICT OF TEXAS
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